      Case 3:19-cv-01624-B Document 4 Filed 07/11/19               Page 1 of 9 PageID 318



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MARVIN T. BRANCH                                   §
                                                   §
VS.                                                §     CIVIL ACTION NO. 3:19-cv-01624-B
                                                   §
FLUOR CORPORATION, INC.,                           §
et al.                                             §                      JURY


         ANSWER OF DEFENDANT ALLIANCE PROJECT SERVICES, INC. TO
                     PLAINTIFF’S ORIGINAL PETITION

         Defendant Alliance Project Services, Inc., (“APS”) for its Answer to Plaintiff’s Original

Petition, states and alleges as follows. By filing this Answer, APS does not intend to waive, and

specifically preserves, its defense that personal jurisdiction is lacking over it in the State of

Texas.

         1.     In response to Paragraph 1 (the paragraph beneath “Plaintiff’s Original Petition”),

APS states that the paragraph states prefatory material to which no response is required. To the

extent a response is required, APS denies that Plaintiff has a cause of action against APS. To the

extent any allegation is not expressly admitted in this or any other paragraph, it is denied.

         2.     In response to Paragraph 2 (the paragraph beneath “Overview Of Lawsuit”), APS

admits that a man detonated a bomb at Bagram Airfield in Afghanistan on November 12, 2016

that resulted in death and injuries. APS denies the remaining allegations.

         3.     In response to Paragraph 3, APS denies the allegations in the first sentence. As to

the second sentence, APS lacks knowledge or information sufficient to form a belief about the

truth of the allegations as to the identities of the referenced other plaintiffs and their status as

proper parties and denies that Plaintiff and such other referenced other plaintiffs have a cause of

action against APS. APS denies the remaining allegations.
    Case 3:19-cv-01624-B Document 4 Filed 07/11/19                 Page 2 of 9 PageID 319



       4.      In response to Paragraph 4, APS states, on information and belief, that on

November 12, 2016, persons were gathering for a run. APS admits that Ahmed Nayeb was at the

Bagram Air Field on November 12, 2016. APS admits it provided Fluor Intercontinental, Inc.

certain labor supply management services related to Ahmed Nayeb. APS lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations.

       5.      In response to Paragraph 5, APS denies the allegations to the extent they relate to

APS and lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations.

       6.      APS lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 6.

       7.      In response to Paragraph 7, APS denies the allegations to the extent they relate to

APS and lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations.

       8.      APS lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 8.

       9.      APS lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 9.

       10.     The allegations in Paragraph 10 refer to the prior allegations in the Petition and

APS incorporates by reference its response to the prior allegations. APS admits that a man

detonated a bomb at Bagram Airfield in Afghanistan on November 12, 2016 that resulted in

death and injuries. APS denies the allegations to the extent they relate to APS. APS lacks

knowledge or information sufficient to form a belief about the truth of the remaining allegations.

       11.     APS denies the allegations in Paragraph 11.



                                                 2
    Case 3:19-cv-01624-B Document 4 Filed 07/11/19                Page 3 of 9 PageID 320



       12.     In response to Paragraph 12 (the paragraph beneath “Discovery Control Plan”),

APS states that given the removal, the allegations relating to Texas state court procedure are not

applicable.

       13.      In response to Paragraph 13 (the paragraph beneath “Rule 47 Statement”), APS

states that given the removal, the allegations relating to Texas state court procedure are not

applicable.

       14.     In response to Paragraph 14 (the paragraph beneath “Parties”), APS lacks

knowledge or information sufficient to form a belief about the truth of the allegations.

       15.     APS lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 15.

       16.     APS lacks knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 16.

       17.     In response to Paragraph 17, APS admits on information and belief that Fluor

Corporation, Inc. is a Delaware corporation and lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations.

       18.     In response to Paragraph 18, APS admits on information and belief that Fluor

Enterprises, Inc. is a California corporation and lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations.

       19.     In response to Paragraph 19, APS admits on information and belief that Fluor

Intercontinental, Inc. is a California corporation and lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations.




                                                 3
    Case 3:19-cv-01624-B Document 4 Filed 07/11/19                  Page 4 of 9 PageID 321



       20.     In response to Paragraph 20, APS admits on information and belief that Fluor

Government Group, Inc. is a Delaware corporation and lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations.

       21.     Paragraph 21 provides a definition to which no response is required. To the

extent that the allegation states or implies that the “Fluor Defendants” are the same, are in the

same position or are interchangeable, APS denies, on information and belief, the allegation.

       22.     In response to Paragraph 22, APS admits that it is a Delaware corporation with its

principal place of business in Virginia. APS denies the remaining allegations.

       23.     Paragraph 23 provides contentions and demands to which no response is required.

To the extent a response is required, APS denies the allegations.

       24.     In response to Paragraph 24 (the paragraph beneath “Jurisdiction And Venue”),

APS states that the allegations constitute legal conclusions to which no response is required. To

the extent a response is required, APS denies Paragraph 24. Further responding to Paragraph 24,

APS denies that its principal place of business is in Texas and denies that venue is proper in

Dallas County, Texas against APS. APS lacks knowledge or information sufficient to form a

belief about the truth of the allegations regarding the other Defendants’ principal places of

business and thus venue allegation. APS further states that given the removal, the allegations

relating to Texas state court are not applicable.

       25.     In response to Paragraph 25 (the paragraph beneath “Factual Background”), APS

incorporates its responses to the above paragraphs.

       26.     In response to Paragraph 26, APS admits that a man detonated a bomb at Bagram

Airfield in Afghanistan on November 12, 2016 that resulted in death and injuries. APS denies

the third sentence of Paragraph 83. APS admits it provided Fluor Intercontinental, Inc. certain



                                                    4
    Case 3:19-cv-01624-B Document 4 Filed 07/11/19                  Page 5 of 9 PageID 322



labor supply management services related to Ahmed Nayeb.                    APS lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations.

       27.     In response to Paragraph 27, APS admits on information and belief, that the U.S.

Government had various agreements with one or more of the Fluor Defendants, admits that APS

was a subcontractor of Fluor Intercontinental, Inc. pursuant to which it provided Fluor

Intercontinental, Inc. certain labor supply management services related to Ahmed Nayeb. APS

denies other allegations to the extent they apply to APS. APS lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations.

       28.     APS denies the allegations in Paragraph 28.

       29.     APS denies the allegations in Paragraph 29.

       30.     In response to Paragraph 30, APS admits that Ahmad Nayeb worked at the

Bagram Airbase, but lacks knowledge or information sufficient to form a belief about the truth of

the remaining allegations in the first sentence. In response to the second sentence of Paragraph

30, APS admits that it was not responsible for supervising Ahmad Nayeb. APS lacks knowledge

or information sufficient to form a belief about the truth of the remaining allegations.

       31.     The allegations in Paragraph 31 refer to the allegations in Paragraph 30, and APS

incorporates by reference its responses to the allegations in Paragraph 30.             Because the

allegations in the first sentence of Paragraph 31 are dependent upon the allegations in Paragraph

30, the allegations are denied. Further in response to Paragraph 31, APS lacks knowledge or

information sufficient to form a belief as to actions or inactions by any of the Fluor Defendants.

APS denies the third and fourth sentences.

       32.     In response to Paragraph 32, APS denies the allegations to the extent that they

apply to APS. APS denies the first, seventh, and eighth sentences. APS lacks knowledge or



                                                  5
    Case 3:19-cv-01624-B Document 4 Filed 07/11/19                Page 6 of 9 PageID 323



information sufficient to form a belief about the truth of the allegations in the second, third,

fourth, fifth, and sixth sentences.

       33.     In response to Paragraph 33, APS states that the allegations in the first two

sentences are too broad and general so as to permit specific responses and are accordingly

denied. APS denies the allegations to the extent that they apply to APS. APS lacks knowledge

or information sufficient to form a belief about the truth of the allegations relating to the Fluor

Defendants. APS denies the last sentence. All other allegations are denied.

       34.     APS denies the allegations in paragraph 34.

       35.     In response to Paragraph 35 (the paragraph beneath “Causes Of Action Against

Fluor Defendants: Negligence/Gross Negligence”), APS incorporates its responses to the above

paragraphs.

       36.     Paragraph 36 is not directed toward APS and, therefore, no response is required

from APS. To the extent a response is required, APS denies the allegations, including in

subparts (1)–(5).

       37.     Paragraph 37 is not directed toward APS and, therefore, no response is required

from APS. To the extent a response is required, APS denies the allegations.

       38.     Paragraph 38 is not directed toward APS and, therefore, no response is required

from APS. To the extent a response is required, APS denies the allegations.

       39.     In response to Paragraph 39 (the paragraph beneath “Causes Of Action Against

Defendant APS: Negligence/Gross Negligence”), APS incorporates its responses to the above

paragraphs.

       40.     In response to Paragraph 40, APS states that the first two sentences contain legal

conclusions to which no responsive pleading is required. To the extent a response is required,



                                                6
    Case 3:19-cv-01624-B Document 4 Filed 07/11/19                  Page 7 of 9 PageID 324



the allegations are denied as are the remaining allegations in the paragraph, including in subparts

(1)–(5).

       41.        In response to Paragraph 41, APS states that the allegation constitute legal

conclusions to which no responsive pleading is required. To the extent a response is required,

the allegations are denied.

       42.        In response to Paragraph 42, APS denies the allegations in the first two sentences.

As to the third sentence, APS denies that plaintiffs are entitled to seek punitive damages against

APS.

       43.        In response to Paragraph 43 (the paragraph beneath “Damages”), APS denies the

allegations to the extent the allegations are directed toward APS. To the extent the allegations in

Paragraph 43 are not directed toward APS, APS states that no response from APS is required, but

to the extent a response is required, the allegations are denied.

       44.        In response to Paragraph 44 (the paragraph beneath “Preservation Of Evidence”),

APS states that the assertions constitute a demand to which no response is required.

       45.        In response to Paragraph 45 (the paragraph beneath “Request For Disclosure”),

APS states that that given the removal, the allegations relating to Texas state court procedure are

not applicable.

       46.        In response to Paragraph 46 (the paragraph beneath “Demand For Jury Trial”),

APS states that the assertions constitute a demand to which no response is required.

       47.        In response to Paragraph 47 (the paragraph beneath “Prayer”), APS denies the

allegations.

                                    AFFIRMATIVE DEFENSES

       1.         The Court lacks personal jurisdiction over APS because it lacks specific or

general jurisdiction over APS in the State of Texas.
                                                   7
    Case 3:19-cv-01624-B Document 4 Filed 07/11/19                  Page 8 of 9 PageID 325



        2.      The Court lacks subject matter jurisdiction because Plaintiff’s claims raise

nonjusticiable political questions under Baker v. Carr, 369 U.S. 186 (1962), and its progeny.

        3.      The state secrets doctrine bars Plaintiff’s claims in their entirety because military

secrets are central to the subject matter of this jurisdiction.

        4.      Plaintiff’s claimed injuries were caused by third parties over whom APS lacked

the ability to control, including, but not limited to, unknown criminal actors under Texas Civil

Practice and Remedies Code § 33.004. As to the designation, identification and characteristics

of such unknown criminal actors who are responsible for “the loss or injury that is the subject of

[Plaintiffs’] lawsuit,” (see Tex. Civ. Prac. & Rem. Code § 33.004(j)), APS incorporates by

reference, and on information and belief, the allegations contained in paragraphs 23-43 of Fluor

Corporation, Inc., Fluor Enterprises, Inc., Fluor Government Group International, Inc., and Fluor

Intercontinental, Inc.’s Original Answer to Plaintiff’s Original Petition.

        5.      Plaintiff’s injuries were caused by third parties over whom APS lacked the ability

to control, including, but not limited to, the United States Military.

        6.      Any actions or inactions alleged of APS were done at the direction of others,

including, based on information and belief, third parties and the United States Military.

        7.      Plaintiff’s claims against APS are barred, in whole or in part, under comparative

responsibility, contributory negligence, an apportionment of responsibility to parties who are

designated or deemed responsible third parties.

        8.      Plaintiff’s claims are barred, in whole or in part, by assumption of risk,

contributory negligence, and injury by fellow servant.

        9.      Other affirmative defenses that are appropriate under facts that are discovered.




                                                   8
    Case 3:19-cv-01624-B Document 4 Filed 07/11/19                 Page 9 of 9 PageID 326



       10.     Other affirmative defenses that are appropriate as alleged by the Fluor

Defendants.

       WHEREFORE, Defendant Alliance Project Services, Inc. denies that Plaintiff is entitled

to recover judgment against it in any amount, and prays that the Court enter judgment in its favor

and against Plaintiff, dismiss the Original Petition with prejudice, award Defendant Alliance

Project Services, Inc. its costs in defending this action, and award other such further relief as the

Court shall deem appropriate.

Dated: July 11, 2019                         Respectfully submitted,

                                             FOX ROTHSCHILD LLP



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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on July 11, 2019, Defendant Alliance Project Services, Inc.
served a true and correct copy of the foregoing on all known counsel of record via the Northern
District of Texas CM/ECF filing system.




                                            C. Dunham Biles

                                                   9
